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            IN THE UNITED STATES DISTRICT COURT FOR THE                    NOV -32010 h
                     EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division                       CLERK U.S DISTRICT COURT
                                                                         AIFXANDR1A. VIRGINIA

INTERSECTIONS,   INC.   et al.

           Plaintiffs,

     v.                                             1:09CV597(LMB/TCB)

JOSEPH C. LOOMIS,    JENNI M.     LOOMIS,

           Defendants.



                                        ORDER


     For the reasons stated in open court and in the accompanying

Memorandum Opinion, defendant Joseph C. Loomis's Motion for

Reconsideration re: Magistrate Judge Buchanan's Report and

Recommendation   [Dkt. No.    201]      and defendant Jenni M.     Loomis's

Objection to Magistrate Judge's Report and Recommendation [Dkt.

No. 202] are hereby GRANTED, plaintiffs' Motion to Enforce

Settlement Agreement      [Dkt.   No.    131]   is DENIED,   and defendant

Joseph C. Loomis's Objections to Magistrate Judge's Order on

Motion for Recusal      [Dkt. No. 206] and Motion for Reconsideration

of Magistrate Judge's Decision on Disqualification of Counsel

[Dkt. No. 195] are DENIED AS MOOT, and it is hereby

     ORDERED that the January 14, 2010 settlement agreement is

set aside as unenforceable; and it is further

     ORDERED that within fourteen (14) days the parties inform

the Court as to whether the United States Bankruptcy Court for
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the District of Arizona has lifted the stay to allow for the
trial of this civil action.

     The Clerk is directed to forward copies of this Order to

counsel of record.

     Entered this 3&~ day of November, 2010.


                                                            /s/
                                               -eonie M. Brinkema
Alexandria, Virginia                          United Sm&s District Judge
